
PER CURIAM.
We affirm the dismissal of McClendon’s motion to correct illegal sentence alleging that the State’s “shotgun” notice of intent to seek enhanced penalties pursuant to § 775.084, Fla. Stat. did not provide him adequate notice of the classification and penalty he would be subject to upon conviction. This court has since determined in Washington v. State, 895 So.2d 1141 (Fla. 4th DCA 2005), that such “shotgun” notices are adequate to notify a defendant that his entire criminal record is at issue, and we hold that McClendon is therefore not entitled to the relief requested in his motion.
FARMER, C.J., GUNTHER and TAYLOR, JJ., concur.
